 4:06-cr-03016-JMG-CRZ   Doc # 29   Filed: 08/14/06   Page 1 of 1 - Page ID # 47



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3016
           v.                        )
                                     )
ARMANDO GARCIA-DELACRUZ,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     On the court’s own motion,

     IT IS ORDERED:

     The competency hearing that was set for August 18 is
continued to August 23, 2006 at 3:30 p.m.

     Defendant shall be present for the hearing.

     DATED this 14th day of August, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
